        Case 2:16-cv-03799-DJH Document 8 Filed 11/04/16 Page 1 of 2



 1 James E. Holland, Jr. (021826)
   Javier Torres (032397)
 2 STINSON LEONARD STREET LLP
   1850 North Central Avenue, Suite 2100
 3 Phoenix, Arizona 85004-4584
   Tel: (602) 279-1600
 4 Fax: (602) 240-6925
   Email: james.holland@stinson.com
 5         javier.torres@stinson.com
   Attorneys for HKB, Inc., dba Southwest Industrial Rigging
 6
 7
                                     UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF ARIZONA
 9
   HKB, INC., an Arizona corporation,                No. 2:16-cv-03799-DJH
10 doing business as SOUTHWEST
   INDUSTRIAL RIGGING,                               CORPORATE DISCLOSURE
11                                                   STATEMENT
                       Plaintiffs,
12
   v.
13
   BOARD OF TRUSTEES FOR THE
14 SOUTHWEST CARPENTER’S
   SOUTHWEST TRUST; CARPENTERS
15 SOUTHWEST ADMINISTRATIVE
   CORP.,
16
                       Defendants.
17
18
19            This Corporate Disclosure Statement is filed on behalf of HKB, Inc. dba

20 Southwest Industrial Rigging in compliance with the provisions of: (check one)
21 X          Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate party to
22 an action in a district court must file a statement that identifies any parent corporation
23 and any publicly held corporation that owns 10% or more of its stock or states that there
24 is no such corporation.
25            Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
26 corporate party to a proceeding in a district court must file a statement that identifies
27 any parent corporation and any publicly held corporation that owns 10% or more of its
28 stock or states that there is no such corporation.

     CORE/3008422.0002/129821044.1
        Case 2:16-cv-03799-DJH Document 8 Filed 11/04/16 Page 2 of 2




 1            Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational victim
 2 of alleged criminal activity is a corporation the government must file a statement
 3 identifying the victim and the statement must also disclose the information required by
 4 Rule 12.4(a)(1).
 5            The filing party hereby declares as follows:
 6 X          No such corporation.
 7            Party is a parent, subsidiary or other affiliate of a publicly owned corporation as
 8 listed below.
 9            Publically held corporation, not a party to the case, with a financial interest in the
10 outcome.
11            Other.
12            A supplemental disclosure statement will be filed upon any change in the
13 information provided herein.
14            DATED this 4th day of November 2016.
15
                                                     STINSON LEONARD STREET LLP
16
17                                            By:    /s/ James E. Holland, Jr.
                                                     James E. Holland
18                                                   Javier Torres
                                                     1850 North Central Avenue, Suite 2100
19                                                   Phoenix, Arizona 85004-4584
                                                     Attorneys for Southwest Industrial Rigging
20
21
22
23
24
25
26
27
28
     CORE/3008422.0002/129821044.1
                                                    2
